IN THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF KANSAS
TOPEKA DIVISION
IN RE: )
)
RILEY DRIVE ENTERTAINMENT ) Case No: 19-41328
XV, INC. ) Chapter 11
)

Debtor.

APPLICATION FOR EXPEDITED SCHEDULING OF HEARINGS ON A)
STATEMENT OF OPERATING BUDGET OR, IN THE ALTERNATIVE, MOTION
FOR AUTHORIZATION TO PAY OPERATING EXPENSES AND B) APPLICATION
FOR APPROVAL OF PAYMENT OF PREPETITION PAYROLL

COMES NOW Debtor Riley Drive Entertainment XV, Inc., by and through undersigned

counsel, and for its Application for Expedited Scheduling of Hearings on A) Statement of
Operating Budget or, In The Alternative, Motion for Authorization to Use Cash Collateral and B)
Application for Approval of Payment of Prepetition Payroll, states as follows:

1, Debtor filed this Chapter 11 proceeding on October 29, 2019. Debtor’s business
consists of ownership and operation of a restaurant and sports bar called Saints Pub + Patio in
Lenexa, Kansas (the “Business’’). All or virtually all of the cash flow of the Business derives
from food and beverage purchases by the customers (the “Revenues”). On October 30, 2019,
Debtor filed the Statement of Operating Budget or, in the Alternative, Motion for Authorization
to Pay Operating Expenses (Doc. #16) and Application for Approval of Payment of Prepetition
Payroll (Doc. #17).

2. The Statement of Operating Budget or, in the Alternative, Motion for Authorization
to Pay Operating Expenses (the “Statement”) implicates Debtor’s authorization to pay the

operating expenses of the business in accordance with the budget. As it is critical for Debtor to

pay its post-petition operating expenses as they become due so that no disruption in the operation

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of the business or interference of relationships with patrons, vendors and suppliers, or employees
occurs, Debtor requests the Court to schedule an expedited hearing on the Statement to authorize
the use of the Revenues to pay operating expenses as they become due to avoid immediate and
irreparable harm to the Business. Debtor will implement service of any order scheduling an
expedited hearing by email, fax, or overnight delivery service to the United States Trustee and all
other creditors on the creditor matrix list (Doc. #6) filed by Debtor.

3. The Application for Approval of Payment of Prepetition Payroll (the “Payroll
Application”) seeks authorization to pay that portion of Debtors’ last payroll that accrued prior to
the bankruptcy filing. Payment of the pre-petition employee compensation and payroll taxes is
vital to maintenance of Debtor’s labor force and avoidance of any disruption to business
operations, Therefore, Debtor seeks expedited consideration of the Payroll Application and the
scheduling of an accelerated hearing thereon.

4. Good cause exists to grant this Application and schedule an expedited hearing on
the Statement and the Payroll Application. Debtor attaches a proposed Order for the Court’s
consideration.

Respectfully submitted,

MCDOWELL RICE SMITH & BUCHANAN
/s/Jonathan A. Margolies

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ATTORNEYS FOR DEBTOR

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CERTIFICATE OF SERVICE

[hereby certify that on the 31st of October, 2019, a copy the foregoing was served via U.S.
First Class mail, postage prepaid, to:

Office of the United States Trustee
401 N, Market,
Wichita, KS 67202

/s/ Jonathan A, Margolies
Attorney for Debtor

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Debtor.

ORDER APPROVING EXPEDITED SCHEDULING OF HEARINGS

THIS MATTER comes on Debtor’s Application for Expedited Scheduling of Hearings on
A) Statement of Operating Budget or, in the Alternative, Motion for Authorization to Pay
Operating Expenses and B) Application for Approval of Payment of Prepetition Payroll filed by
Debtor and, after review of the record and consideration of the relief requested,

THE COURT FINDS as follows:

1. On October 29, 2019, Debtor initiated this bankruptcy case with the filing of its
voluntary Petition under Chapter 11 of the Bankruptcy Code. On the following day, Debtor filed
the Statement of Operating Budget or, in the Alternative, Motion for Authorization to Pay
Operating Expenses (the “Statement”) and Application for Approval of Payment of Prepetition
Payroll (the “Payroll Application’).

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2. Debtor filed its Application for Expedited Scheduling of Hearings on A) Statement
of Operating Budget or, in the Alternative, Motion for Authorization to Pay Operating Expenses
and B) Application for Approval of Payment of Prepetition Payroll (the “Expedited Hearing
Application”) on October 31, 2019. The Expedited Hearing Application seeks the scheduling of
expedited hearings on the Statement and the Payroll Application.

3. Upon review of the Statement, Payroll Application and the Expedited Hearing
Application, good cause exists to grant the request for an expedited hearing on the Statement and
the Payroll Application.

THEREFORE, IT IS HEREBY ORDERED that the Expedited Hearing Application is

granted and a hearing on the Statement and the Payroll Application is set for

, 2019 at .m, at the United States Courthouse, Room 210, 444

 

S.E. Quincy, Topeka, Kansas 66683.

 

HHH
SUBMITTED BY:
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